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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        ) CRIM. CASE NO. 2:20-cr-97-ECM
                                                 )
BILLY HERMAN POWELL                              )

                      MEMORANDUM OPINION and ORDER

       Now pending before the Court is Defendant Billy Herman Powell’s unopposed

motion to continue trial (doc. 72) filed on March 8, 2022. Jury selection and trial are

presently set on the term of court commencing on April 4, 2022. For the reasons set forth

below, the Court will grant a continuance of the trial pursuant to 18 U.S.C. § 3161(h)(7).

       While the trial judge enjoys great discretion when determining whether to grant a

continuance, the Court is limited by the requirements of the Speedy Trial Act. 18 U.S.C.

§ 3161; United States v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986). The Act provides

in part:

       In any case in which a plea of not guilty is entered, the trial of a defendant
       charged in an information or indictment with the commission of an offense
       shall commence within seventy days from the filing date (and making public)
       of the information or indictment, or from the date the defendant has appeared
       before a judicial officer of the court in which such charge is pending,
       whichever date last occurs.

18 U.S.C. § 3161(c)(1).

       The Act excludes, however, certain delays from the seventy-day period, including

delays based on “findings that the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.
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§ 3161(h)(7)(A). In determining whether to grant a continuance under § 3161(h)(7), the

court “shall consider,” among other factors, whether denial of a continuance would likely

“result in a miscarriage of justice,” or “would deny counsel for the defendant . . . the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.” Id. § 3161(h)(7)(B)(i), (iv).

       Counsel for the Defendant represents to the Court that he needs additional time to

meet with the Defendant and prepare for trial. Specifically, counsel represents that the

Defendant has been hospitalized and will undergo a surgical procedure today or tomorrow,

and that such hospitalization has prevented counsel from meeting with the Defendant to

prepare for trial. Additionally, counsel represents that he has a capital murder trial in state

court beginning on March 28, 2022, which is expected to last at least two weeks. The

United States does not oppose a continuance. After careful consideration, the Court finds

that the ends of justice served by granting a continuance of this trial outweigh the best

interest of the public and the Defendant in a speedy trial. Thus, for good cause, it is

       ORDERED that the motion to continue (doc. 72) is GRANTED, and jury selection

and trial are CONTINUED from April 4, 2022 to the criminal term of court set to

commence on August 29, 2022 at 10:00 a.m. in Montgomery, Alabama. All deadlines

tied to the trial date are adjusted accordingly.

       The United States Magistrate Judge shall conduct a pretrial conference prior to the

August trial term.
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Done this 8th day of March, 2022.

                                  /s/Emily C. Marks
                          EMILY C. MARKS
                          CHIEF UNITED STATES DISTRICT JUDGE
